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 3
 4                      IN THE UNITED STATES DISTRICT COURT
 5                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
 7   UNITED STATES OF AMERICA,              )
                                            )    2:12-cr-00303-GEB
 8                  Plaintiff,              )
                                            )
 9            v.                            )    RELATED CASE ORDER
                                            )
10   MORDECHAY ALTIT,                       )
                                            )
11                 Defendant.               )
     ________________________________       )
12   UNITED STATES OF AMERICA,              )
                                            )    2:12-cr-00389-MCE
13                  Plaintiff,              )
                                            )
14            v.                            )
                                            )
15   MORDECHAY ALTIT, and SHAY DIN          )
     ALTIT,                                 )
16                                          )
                   Defendants.              )
17   ________________________________       )
18
19             On May 16, 2013, the United States of America and Defendant

20   Mordechay Altit (“the parties”) jointly filed a “Notice of Related

21   Cases” in which they state: “the above-entitled actions are related

22   within the meaning of Local Rule 123 and [therefore] 12-cr-00303-GEB

23   [should] be reassigned to Chief Judge England.” (ECF No. 28, 1:26-28.)

24   The parties further state:

25             Both prosecutions charge the same defendant,
               Mordechay Altit, with mail fraud, identity theft,
26             money laundering. These matters, thus, concern “the
               same parties and are based on . . . similar
27             claim(s)” L.R. 123(a)(1). In addition, because
               Mordechay Altit will be sentenced in both cases and
28             factual information will be presented regarding his
               history and characteristics pursuant to the Court’s

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 1               18 U.S.C. section 3553(a) sentencing analysis, it
                 follows that the “similar questions of fact and the
 2               same questions of law” will arise in the
                 above-captioned cases. L.R. 123(a)(3). If these
 3               cases were heard by different judges, there would
                 be “substantial duplication of labor.” L.R.
 4               123(a)(4). Lastly, substantial judicial resources
                 would be saved by relating the above-captioned
 5               matters.
 6   (Id. at 2:26-3:9.)
 7               The parties provide no reason why a Notice of Related Cases
 8   document was not filed “promptly,” as required by the applicable local
 9   rule. E.D. Cal. R. 123(b) (“Counsel who has reason to believe that an
10   action on file or about to be filed may be related to another action on
11   file . . . shall promptly file in each action and serve on all parties
12   in each action a Notice of Related Cases.”). Further, the parties
13   provide no authority to support their request that Local Rule 123(c) and
14   the regular practice of this court be disregarded by reassigning the
15   earlier-filed action, which is assigned to the undersigned judge, to
16   Chief Judge England. Local Rule 123(c) prescribes:
17               If the Judge to whom the action with the lower or
                 lowest number has been assigned determines that
18               assignment of the actions to a single Judge is
                 likely to effect a savings of judicial effort or
19               other economies, that Judge is authorized to enter
                 an order reassigning all higher numbered related
20               actions to himself or herself.
21   (emphasis added).
22               For the stated reasons, the parties’ request that the earlier-
23   filed   action   be   reassigned    to   Chief   Judge   England    is   rejected
24   notwithstanding the fact that a co-defendant plead guilty in that
25   action. See generally United States v. Gurrola Madrid, 997 F. Supp.
26   1360, 1366 (D. Or. 1998) (indicating Federal Rule of Criminal Procedure
27   25(b) does not “appear to apply” when a defendant is sentenced following
28   a guilty plea versus a verdict), rev’d on other grounds 185 F.3d 871


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 1   (9th Cir. 1999); United States v. Larios, 640 F.2d 938, 942 (9th Cir.
 2   1981) (indicating that even when Rule 25(b) does apply, “[t]he Federal
 3   Rules of Criminal Procedure allow a judge other than the trial judge to
 4   do . . . sentencing . . . [when] the sentencing judge [is] familiar
 5   enough with the case to be able to assign the appropriate sentence
 6   within the statutory guidelines”). However, since examination of the
 7   above-entitled actions reveals that they are related within the meaning
 8   of Local Rule 123, action 2:12-cr-00389 is reassigned to the undersigned
 9   judge for all further proceedings, and the caption on the reassigned
10   cases shall show the initials “GEB.” Further, any date currently set in
11   the reassigned case is VACATED. The Clerk shall make an appropriate
12   adjustment in the assignment of criminal cases to compensate for this
13   reassignment.
14                IT IS FURTHER ORDERED that in action 2:12-cr-00389, a Status
15   Conference is scheduled to commence at 9:00 a.m. on June 14, 2013, for
16   Defendant Mordechay Altit, and a sentencing hearing is scheduled to
17   commence at 9:00 a.m. on September 13, 2013, for defendant Shay Altit.
18   Dated:    June 5, 2013
19
20                                       GARLAND E. BURRELL, JR.
21                                       Senior United States District Judge

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